

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS


				




NO. PD-0165-12




		

SABINO ALARADO DUARTE, Appellant



v.



THE STATE OF TEXAS





ON APPELLANT'S  PETITION FOR DISCRETIONARY REVIEW


FROM THE FIRST COURT OF APPEALS


HARRIS COUNTY





    Per curiam.  Keasler, and Hervey, JJ., dissent.  Alcala, J., not participating.


O R D E R 



	The petition for discretionary review violates Rule of Appellate Procedure 9.3(b)
because the original petition is not accompanied by 11 copies.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies must be filed
in the Court of Criminal Appeals within thirty days after the date of this Order.	

Filed: March 28, 2012

Do Not Publish


